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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 ILIA KERTSMAN                                       )
                                                     )
                     Plaintiff,                      )
                                                     )
            v.                                         Civil Action No.
                                                     )
                                                     )
 LIFEWAY FOODS, INC.                                 )
                                                     )
                     Defendant.
                                                     )

                        COMPLAINT FOR DECLARATORY RELIEF

       Plaintiff, Ilia Kertsman (“Kertsman”) by and through his attorneys, Neal, Gerber &

Eisenberg LLP, brings this Complaint for Declaratory Relief against defendant Lifeway Foods,

Inc. (“Defendant”) and states as follows:

                                   NATURE OF THE ACTION

       1.        This is an action for declaratory relief under 28 U.S.C. § 2201. Kertsman seeks a

declaration from this Court that his continued use of the trademark KPECTbЯHCKOE MACɅO

in connection with butter: (1) does not infringe Defendant’s alleged trademark rights under 15

U.S.C. § 1114(1)(a); and (2) does not constitute false designation of origin under 15 U.S.C. §

1125(a). Kertsman also seeks a declaration of equitable estoppel prohibiting the enforcement of

any alleged trademark rights that Defendant claims that it has in the term, KPECTƄЯHCKИЙ.

Finally, Kertsman seeks an award of his attorneys’ fees, expenses, and costs incurred in connection

with this action, and any other relief the Court deems just and proper.

                                  JURISDICTION AND VENUE

       2.        This Court has original jurisdiction over Kertsman’s federal claims pursuant to 28

U.S.C. § 1331, § 1338, and § 2201.
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       3.      This Court has personal jurisdiction over Defendant because Defendant transacts

business within this State and District and has otherwise made and established contacts within this

State and District sufficient to permit the exercise of personal jurisdiction.

       4.      Venue is proper in this judicial District pursuant to 28 U.S.C. § 1391(b)(1) because

Defendant’s principal place of business is within this District.

                                          THE PARTIES

       5.      Plaintiff Ilia Kertsman is an individual with an address of 16325 NE 44th Ct.,

Redmond, Washington.

       6.      Defendant Lifeway Foods, Inc., is a corporation incorporated under the laws of the

State of Illinois with its principal place of business in Morton Grove, Illinois.

                             FACTS COMMON TO ALL COUNTS

       7.      Defendant is the owner of U.S. federal trademark registration number 2,187,363

for the KPECTƄЯHCKИЙ, which registered on September 8, 1998, for use in connection with

“cheeses, cottage cheeses and other milk products, excluding ice cream, ice milk and frozen

yogurt” in International Class 29. Defendant’s alleged first use date of the above-mentioned term

is listed as January 15, 1989. A copy of Defendant’s certificate of registration is attached hereto as

Exhibit A.

       8.      Defendant manufactures kefir, a cultured drink, which it allegedly sells under

KPECTƄЯHCKИЙ in the United States.

       9.      On February 26, 2011, Kertsman filed a federal trademark application for the mark

KPECTbЯHCKOE MACɅO for use in connection with butter, in International Class 29.

Kertsman’s application was assigned serial number 85/252,481.




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        10.    The United States Patent and Trademark Office approved Kertsman’s application

on December 21, 2011, and Kertsman’s KPECTbЯHCKOE MACɅO mark was published in the

Trademark Official Gazette on January 10, 2012.

        11.    Despite having an opportunity to oppose Kertsman’s trademark application during

the publication period, Defendant did not oppose Kertsman’s KPECTbЯHCKOE MACɅO mark

during that time.

        12.    On March 27, 2012, Kertsman’s KPECTbЯHCKOE MACɅO mark registered as

U.S. federal trademark registration number 4,117,264 for use in connection with “[d]airy

[p]roduct, [n]amely, [b]utter” in International Class 29. A copy of the certificate of registration for

the mark KPECTbЯHCKOE MACɅO is attached hereto as Exhibit B and incorporated by

reference. The mark, as depicted on the registration, is reproduced below:




        13.    Kertsman began producing and distributing butter under his KPECTbЯHCKOE

MACɅO mark in 1995. Kertsman has been offering his butter for sale in the U.S under the

KPECTbЯHCKOE MACɅO mark since before the filing date of U.S. registration number

4,117,264, which was filed on February 26, 2011. On an annual basis, Kertsman generates

substantial profits in connection with butter that is sold under the KPECTbЯHCKOE MACɅO

mark.

        14.    Since the date of first use through the present, all butter bearing the

KPECTbЯHCKOE MACɅO mark has been sold in packaging that also prominently bears the

Kertsman’s Fine Foods logo (as shown below), which serves to further identify Kertsman’s

company as the source of the butter bearing the KPECTbЯHCKOE MACɅO mark.

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       15.     Over the last 20 years, Kertsman has expended time, energy, and resources to

produce, market, and sell butter under the KPECTbЯHCKOE MACɅO mark. As a result of this

longstanding, exclusive, and continuous use, and as a result of Kertsman’s sale of butter under the

KPECTbЯHCKOE MACɅO mark, KPECTbЯHCKOE MACɅO has acquired substantial

goodwill and trademark distinctiveness in the minds of the relevant consuming public.

       16.     As a further result of this longstanding, exclusive, and continuous use, the relevant

consuming public has come to associate the KPECTbЯHCKOE MACɅO mark and goods bearing

the mark with Kertsman and Kertsman alone.

       17.     While each of the terms at issue are expressed in Russian, Kertsman’s

KPECTbЯHCKOE MACɅO mark translates to “Village Butter,” and Defendant’s designation

translates to “peasant.” When used in connection with their respective goods, the terms have

distinct meanings, thus preventing any likelihood of confusion among the goods’ relevant

consumers, which are largely comprised of members of the Russian-speaking community.

       18.     It is therefore not surprising that Kertsman’s butter that is sold under the

KPECTbЯHCKOE MACɅO mark and Defendant’s kefir have coexisted for many years without

any appreciable confusion.




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       19.    Despite Kertsman’s longstanding use and registration of his KPECTbЯHCKOE

MACɅO mark, neither Defendant nor any other entity or individual objected to Kertsman’s use

of the KPECTbЯHCKOE MACɅO mark for butter until Defendant’s objection, as alleged herein,

in 2017.

       20.    On or about March 24, 2017, just three days before the five-year anniversary of

Kertsman’s registration of his KPECTbЯHCKOE MACɅO mark, Defendant commenced

cancellation proceedings before the Trademark Trial and Appeal Board in an effort to cancel

Kertsman’s registration of his KPECTbЯHCKOE MACɅO mark for butter.

       21.    Among     other   allegations,       Defendant’s   Petition   to   Cancel   Kertsman’s

KPECTbЯHCKOE MACɅO mark alleged that “[t]he [KPECTbЯHCKOE MACɅO] Mark is

confusingly similar to [Defendant’s Mark], and the registration and use of the [KPECTbЯHCKOE

MACɅO] Mark by [Kertsman] in association with [Kertsman]’s goods, and is likely to mislead

consumers, all to [Defendant]’s detriment.” It further alleged that Kertsman’s KPECTbЯHCKOE

MACɅO mark “is likely to cause confusion in the minds of the public, and is likely to deceive

purchasers. The public, upon seeing the [KPECTbЯHCKOE MACɅO] Mark in connection with

the goods in Registration No. 4,117,264, would mistakenly believe that such goods originate with,

or are approved by, sponsored by, or affiliated with [Defendant]…”

       22.    Since initiating the cancellation proceedings with the Trademark Trial and Appeal

Board, Defendant’s counsel has made it clear that Defendant not only expects to cancel Kertsman’s

registration of the KPECTbЯHCKOE MACɅO mark, but also expects Kertsman to abandon the

KPECTbЯHCKOE MACɅO mark altogether and cease any and all use of the KPECTbЯHCKOE

MACɅO mark in the future.




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        23.     Defendant’s effort to prohibit Kertsman from using the KPECTbЯHCKOE

MACɅO mark altogether interferes with Kertsman’s ability to continue use of his mark for butter

and with his legitimate business operations.

                                     COUNT I
                         DECLARATION OF NON-INFRINGEMENT
                        UNDER THE LANHAM ACT (15 U.S.C. § 1114)

        24.     Kertsman repeats and re-alleges each allegation contained in Paragraphs 1 through

23 as if fully set forth herein.

        25.     A justiciable and actual controversy exists before this Court with respect to

whether Kertsman’s continued use of KPECTbЯHCKOE MACɅO in connection with his butter

infringes any of Defendant’s alleged rights under the Lanham Act, 15 U.S.C. § 1051 et. seq.

        26.     Kertsman’s continued use of the KPECTbЯHCKOE MACɅO mark for his butter

is not likely to cause confusion as to the source or sponsorship with regard to Defendant.

        27.     The parties’ concurrent use of their marks in the U.S. for many years underscores

that there is no likelihood of confusion between the marks now or in the future.

        28.     Kertsman’s continued use of the KPECTbЯHCKOE MACɅO mark for his butter

does not and will not infringe any rights of Defendant under 15 U.S.C. § 1114(1)(a).

        29.     Kertsman accordingly requests a declaration from the Court that his continued use

of KPECTbЯHCKOE MACɅO for butter does not infringe any of Defendant’s alleged rights

under 15 U.S.C. § 1114(1)(a).

                                  COUNT II
                    DECLARATION OF NO FALSE DESIGNATION
               OF ORIGIN UNDER THE LANHAM ACT (15 U.S.C. § 1125(a))

        30.     Kertsman repeats and re-alleges each allegation contained in Paragraphs 1 through

29 as if fully set forth herein.



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        31.     A justiciable and actual controversy exists before this Court with respect to

whether Kertsman’s continued use of KPECTbЯHCKOE MACɅO in connection with butter

infringes any of Defendant’s alleged rights under the Lanham Act, 15 U.S.C. § 1051 et. seq.

        32.     Kertsman’s continued use of the KPECTbЯHCKOE MACɅO mark for butter is

not likely to cause confusion as to the source or sponsorship with regard to Defendant.

        33.     The parties’ concurrent use of their marks in the U.S. for many years underscores

that there is no likelihood of confusion between the marks now or in the future.

        34.     Kertsman’s continued use of the KPECTbЯHCKOE MACɅO mark for butter does

not and will not infringe any rights of Defendant under 15 U.S.C. § 1125(a).

        35.     Kertsman accordingly requests a declaration from the Court that his continued use

of KPECTbЯHCKOE MACɅO for butter does not infringe any of Defendant’s alleged rights

under 15 U.S.C. § 1125(a).

                             COUNT III
      DECLARATION THAT THE DOCTRINES OF EQUITABLE ESTOPPEL,
    LACHES, AND ACQUIESCENCE PROHIBIT DEFENDANT’S ENFORCEMENT

        36.     Kertsman repeats and re-alleges each allegation contained in Paragraphs 1 through

35 as if fully set forth herein.

        37.     The doctrines of equitable estoppel, laches, and/or acquiescence bar Defendant’s

claims for trademark infringement and false designation of origin under the Lanham Act on the

basis of likelihood of confusion because Defendant’s delay in pursuing its claims against Kertsman

is inexcusable and has substantially prejudiced Kertsman.

        38.     Kertsman relied to his detriment on Defendant’s delay in asserting its claims for

more than twenty years after Kertsman commenced use of the mark, for six years after Kertsman




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filed an application to register his mark, and for approximately five years after Kertsman obtained

a federal trademark registration for his KPECTbЯHCKOE MACɅO mark.

       39.     Kertsman’s use of the KPECTbЯHCKOE MACɅO mark was open and notorious

and was known or should have been known by Defendant, such that Defendant’s current objection

is not justified or excused in law or in equity.

       40.     Kertsman’s registration of the KPECTbЯHCKOE MACɅO mark provided

Defendant with constructive notice of his exclusive rights in the mark for butter since at least as

early as the registration date of March 27, 2012, such that Defendant’s current objection is not

justified or excused in law or in equity.

       41.     Kertsman is prejudiced and will continue to be prejudiced by Defendant’s actions.

Defendant seeks to destroy the years of effort and the time, energy, and resources that Kertsman

has devoted to his KPECTbЯHCKOE MACɅO brand.

       42.     By Defendant’s inaction complained of herein, Defendant has relinquished any and

all rights it might ever have to object to the use by Kertsman of KPECTbЯHCKOE MACɅO.

       43.     Kertsman requests a declaration from this Court that Defendant is barred by the

equitable doctrines of estoppel, laches, and acquiescence from challenging Kertsman’s continued

use of his KPECTbЯHCKOE MACɅO mark for butter.




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       WHEREFORE, Kertsman respectfully requests that this Court enter judgment on each

count of this Complaint as follows:

       A.     Declaring that Kertsman’s continued use of KPECTbЯHCKOE MACɅO does not:

              (1)     Constitute trademark infringement under 15 U.S.C. § 1114(1)(a); or

              (2)     Constitute false designation or origin under 15 U.S.C. § 1125(a).

       B.     Declaring that Defendant is barred by the equitable doctrines of estoppel, laches,

       and/or acquiescence from challenging Kertsman’s continued use of KPECTbЯHCKOE

       MACɅO;

       C.     Permanently enjoining Defendant and its officers, agents, servants, employees and

       attorneys, and all persons in active concert or participation with any of them, in challenging

       Kertsman’s use of the KPECTbЯHCKOE MACɅO Mark for butter;

       D.     Finding this case to be exceptional under 15 U.S.C. § 1117(a);

       E.     Awarding Kertsman his attorneys’ fees, expenses, and costs incurred in this action

       pursuant to 15 U.S.C. § 1117(a) and 28 U.S.C. § 1920; and

       F.     Awarding Kertsman such further relief as this Court deems just and proper.

                                                     Respectfully submitted,


Dated: September 12, 2018                            By:     /s/ Kara C. Smith
                                                             One of Plaintiff’s attorneys


Lee J. Eulgen
Kara C. Smith
NEAL, GERBER & EISENBERG, LLP
Two North LaSalle, Suite 1700
Chicago, Illinois 60602
T: (312) 269-8000
leulgen@nge.com
ksmith@nge.com
Attorneys for Plaintiff Ilia Kertsman


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